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11                                  UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEVADA
12

13
     PETER DELVECCHIA, et al.,           )                  Case No: 2:19-CV-01322-KJD-DJA
14                                       )
                       Plaintiffs,       )
15                                       )
           v.                            )                  NOTICE OF FILING REDACTED
16                                       )                  EXHIBITS PURSUANT TO COURT
     FRONTIER AIRLINES, INC., et al.,    )                  ORDER [ECF NO. 313]
17                                       )
                       Defendants.       )
18   ____________________________________)

19          Pursuant to this Court’s Order dated February 5, 2024 [ECF No. 313], the Defendants,
20
     FRONTIER AIRLINES, INC., REX SHUPE, and SCOTT WARREN hereby notify the Court and
21
     Plaintiffs’ counsel that they have filed the redacted versions of Plaintiffs’ Exhibits 2, 6, 10, and 15, as
22
     were attached to Plaintiffs’ Motion to File Exhibits to Response to Defendants’ Motion for Summary
23

24   Judgment Under Seal. [ECF No. 280.]

25

26   DATED February 7, 2024.                                Respectfully submitted,
27                                                          /s/ Richard C. Harris_______________
                                                            Richard C. Harris, Esq. (admitted pro hac vice)
28
                                                            HINSHAW & CULBERTSON LLP


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1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on February 7, 2024, I caused the foregoing to be electronically filed with
3
     the United States District Court for the District of Nevada using the CM/ECF system.
4
                                                          By: /s/ Richard C. Harris
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